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                                   Exhibit A

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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

In re:                                                          PROMESA
                                                                Title III
THE FINANCIAL OVERSIGHT AND
MANAGEMENT BOARD FOR PUERTO RICO,                               No. 17 BK 3283-LTS
         as representative of                                   (Jointly Administered)
THE COMMONWEALTH OF PUERTO RICO, et
                                                                This filing relates to the
al.,
                                                                Commonwealth.
                     Debtors. 1

     ORDER GRANTING FIVE HUNDRED FORTY-FOURTH OMNIBUS OBJECTION
    (SUBSTANTIVE) OF THE COMMONWEALTH OF PUERTO RICO TO PARTIALLY
                     SATISFIED OR NO LIABILITY CLAIMS

                Upon the Five Hundred Forty-Fourth Objection (Substantive) of the

Commonwealth of Puerto Rico to Partially Satisfied, Deficient or No Liability Claims (the “Five

Hundred Forty-Fourth Omnibus Objection”) 2 of the Commonwealth of Puerto Rico (the

“Commonwealth” or the “Objecting Debtor”), dated October 28, 2022, for entry of an order



1
        The Debtors in these Title III Cases, along with each Debtor’s respective Title III case
number and the last four (4) digits of each Debtor’s federal tax identification number, as applicable,
are the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17 BK
3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing
Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal
Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy
Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees
Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy
Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric
Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four Digits of
Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”, and together with
the Commonwealth, COFINA, HTA, ERS, and PREPA, the “Debtors”) (Bankruptcy Case No. 19-
BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as
Bankruptcy Case numbers due to software limitations)
2
        Capitalized terms not otherwise defined herein shall have the meanings given to such terms
in the Five Hundred Forty-Fourth Omnibus Objection.
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modifying and allowing certain claims filed against the Objecting Debtor, as more fully set forth

in the Five Hundred Forty-Fourth Omnibus Objection and supporting exhibits thereto; and the

Court having jurisdiction to consider the Five Hundred Forty-Fourth Omnibus Objection and to

grant the relief requested therein pursuant to PROMESA Section 306(a); and venue being proper

pursuant to PROMESA Section 307(a); and due and proper notice of the Five Hundred Forty-

Fourth Omnibus Objection having been provided to those parties identified therein, and no other

or further notice being required; and the Court having determined that each of the claims identified

in the column titled “Claims to Be Reduced and Allowed” in Exhibit A to the Five Hundred Forty-

Fourth Omnibus Objection (collectively, the “Claims to Be Reduced and Allowed”) has been

partially satisfied or the Objecting Debtor otherwise has no liability for a portion of the claim, and

that the remaining portion of the claim should be allowed; and the Court having determined that

the relief sought in the Five Hundred Forty-Fourth Omnibus Objection is in the best interest of the

Objecting Debtor, its creditors, and all the parties in interest; and the Court having determined that

the legal and factual bases set forth in the Five Hundred Forty-Fourth Omnibus Objection establish

just cause for the relief granted herein; and after due deliberation and sufficient cause appearing

therefor, it is

                  ORDERED that the Five Hundred Forty-Fourth Omnibus Objection is GRANTED

as set forth herein; and it is further

                  ORDERED that the Claims to Be Reduced and Allowed are hereby modified and

allowed as set forth in Exhibit A to the Five Hundred Forty-Fourth Omnibus Objection; and it is

further




                                                  2
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                ORDERED that Kroll is authorized and directed to modify and allow the amounts

of the Claims to Be Reduced and Allowed set forth on the official claims register in the Title III

Cases; and it is further

                ORDERED that this Order resolves Docket Entry No. 22748 in Case No. 17-3283;

and it is further

                ORDERED that this Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, or enforcement of this Order.



         SO ORDERED:

Dated:


                                              Honorable Judge Laura Taylor Swain
                                              United States District Judge




                                                 3
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                                    EXHIBIT A

    Schedule of Claims Subject to the Five Hundred Forty-Fourth Omnibus Objection
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                                                       Five Hundred Forty-Fourth Omnibus Objection
                                                       Exhibit A - Claims to Be Reduced and Allowed
                                                                                         ASSERTED                                                             MODIFIED AND ALLOWED

                                                                                               PRIORITY                                                                        PRIORITY
    NAME                             CLAIM #               DEBTOR                               STATUS             AMOUNT             DEBTOR                                    STATUS       AMOUNT

1   COMMUNICATION                            29448         Commonwealth of Puerto Rico         Unsecured                 $15,545.14   Commonwealth of Puerto Rico           Unsecured               $168.00
    LEASING LEASING
    CORPORATION
    ANA ALBERTORIO
    PO BOX 362526
    SAN JUAN, PR 00936-2565

    Reason: Invoices totaling $15,377.14 were paid via checks 00281393, 00021360, 00022456, and 00026446 on 02/05/2014, 04/18/2018, 05/18/2018, and 09/18/2018. The Claimant
    shall retain the non-modified portion of the claim.
2   FRANCISCO DIAZ MASSO /                   57965         Commonwealth of Puerto Rico         Unsecured                 $17,671.00   Commonwealth of Puerto Rico           Unsecured               $220.12
    BERMUDEZ, LONGO,
    DIAZ-MASSO, LLC
    PO BOX 192596
    SAN JUAN, PR 00919

    Reason: Invoices totaling $17,450.88 were paid via checks 303742, 303743, and 303744 on 06/13/2018. The Claimant shall retain the non-modified portion of the claim.
3   QUILES GONZALEZ,                         5435          Commonwealth of Puerto Rico         Unsecured                 $3,000.00*   Commonwealth of Puerto Rico           Unsecured              $1,500.00
    ANGEL
    PEDRO G. CRUZ SÁNCHEZ
    PO BOX 372290
    CAYEY, PR 00737-2290

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico totalling $3,000.00 related to case GDP-2009-0054. The Debtors' books and
    records state there was a judgment in the amount of $1,500.00. As such, the claim has been reduced to reflect this amount. Additionally, Claim was filed as unliquidated, the modified
    amount fully liquidates the Claim.




    *Indicates claim contains unliquidated and/or undetermined amounts                                                                                                                         1
